     Case 2:23-ap-01426-DS          Doc 24 Filed 10/01/24 Entered 10/01/24 16:53:32                    Desc
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 5                                                                            CLERK U.S. BANKRUPTCY COURT
     Attorney for Defendant                                                   Central District of California
                                                                              BY bakchell DEPUTY CLERK
 6
                               UNITED STATES BANKRUPTCY COURT
 7
                                CENTRAL DISTRICT OF CALIFORNIA
 8
                                          LOS ANGELES DIVISION
 9

10   In re:                                               Case No.: 2:23-bk-13864-DS

11   TOBY EDWARD TORRES,                                  Adv. No.: 2:23-ap-01426-DS

12                           Debtor.                      Chapter 7

13                                                        ORDER ON JOINT STIPULATION TO
                                                          CONTINUE PRETRIAL CONFERENCE,
14   COMPLETE INDUSTRIAL REPAIR, INC,                     TRIAL AND RELATED DEADLINES
15                           Plaintiff,

16

17   vs.

18
     TOBY EDWARD TORRES,
19
                            Defendant.
20

21            The court having reviewed and considered the “Joint Stipulation to Continue Pretrial
22   Conference, Trial and Related Deadlines” filed on September 20, 2024 as Docket No. 22 and the
23   record in this case, and for good cause shown,
24         IT IS HEREBY ORDERED that:
25            1.     The Joint Stipulation is approved.
26            2.     The October 15, 2024 deadline for the filing of the pre-trial order is vacated.
27            3.     The pre-trial conference scheduled for October 29, 2024 is vacated.
28
     Case 2:23-ap-01426-DS       Doc 24 Filed 10/01/24 Entered 10/01/24 16:53:32               Desc
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 1        4.      The trial scheduled for November 12, 2024 is vacated.

 2        5.      The court will hold a status conference on November 12, 2024 at 1 p.m., at which

 3                time counsel for the parties should be prepared to discuss new dates for the pre-

 4                trial order deadline, pre-trial conference, and trial. Counsel may appear in-person

 5                or via ZoomGov.

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24       Date: October 1, 2024

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